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                             IN THE UNITED STATES DISTRICT COURT
                                     DISTRICT OF VERMONT

ALBIN MELI, et al.

           Plaintiffs,
V.
                                                                  Civil Action No. 2:19–CV–00071
CITY OF BURLINGTON, VERMONT, et al.

           Defendants.


              PLAINTIFF’S EXHIBIT INDEX FOR RESPONSE AND DISPUTED FACTS

     1.    Samuel Messenger deposition excerpts
     2.    Kelly Wassick deposition excerpts
     3.    Sinan Eren deposition excerpts
     4.    Burlington Police Department dispatch/radio log
     5.    Bellavance deposition excerpts
     6.    Bellavance body camera footage
     7.    Bradbury deposition excerpts
     8.    Schaller body camera footage
     9.    Ross valcour report
     10.   Criminal citation and affidavit for Jeremie
     11.   Jeremie Meli charge dismissal
     12.   Haig deposition excerpts
     13.   Albin Meli deposition excerpts
     14.   Campbell body camera footage
     15.   Albin Meli criminal citation
     16.   Schaller deposition excerpts
     17.   Burlington Resolution relating to Approval of Separation Agreement for Jason Bellavance
     18.   VTDigger article, “City Council authorizes separation agreement with Burlington cop”
     19.   Del Pozo deposition excerpts
     20.   Janine Wright deposition with Evan Chadwick
     21.   Schmidt body camera footage
     22.   Lewis body camera footage
     23.   Schaller valcour report
     24.   Albin Meli affidavit of probable cause
     25.   Campbell deposition excerpts
     26.   ACLU letter to BPD
     27.   Charlie Meli charge dismissal
     28.   Bradbury sworn statement/affidavit
     29.   BPD administrative interview notification
     30.   Internal affairs letter
     31.   Corrow bodycam footage from Mabior Jok
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32.   Garrett cellphone footage from Mabior Jok
33.   Bellavance bodycam footage from Mabior Jok
34.   BPD UOF data 2019 report
35.   US Census data
36.   Seguino deposition excerpts
37.   Seguino/Brooks/Autilo report 2014-2019
38.   Trudell report, Page 21
39.   Jack Ryan deposition excerpts
40.   Janine Wright Facebook Post #1
41.   VTDigger article, “Burlington police official’s trolling more extensive than city found
42.   Seven Days article, “Weinberger Knew of Burlington Police Chief’s Anonymous Twitter
      Account”
43.   Charlie Meli deposition excerpts
44.   Samuel Thibault deposition excerpts
45.   Marc Preston report
46.   Janine Wright deposition excerpts with Robb Spensley
47.   Nader Hashim’s affidavit on data collection
48.   Bellavance valcour report
49.   Del Pozo article, “Guided by Race: An Ethical and Policy Analysis of Racial Profiling in Law
      Enforcement Decisionmaking”
50.   VT Digger article, “Article by Burlington police chief a concern for some”
